         Case 2:10-cr-00356-LDG-VCF           Document 486        Filed 10/15/15      Page 1 of 5




 1 Daniel G. Bogden
   United States Attorney
 2 District of Nevada
   Roger W. Wenthe
 3 Assistant United States Attorney
   United States Attorney’s Office
 4 333 Las Vegas Blvd., South, Suite 5000
   Las Vegas, Nevada 89101
 5 Tel: 702-388-6336
   Fax: 702-388-6787
 6

 7
                                    UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                         )
10                                                     )
                    Plaintiff,                         )   Case No. 2:10-CR-0356-LDG-VCF
11                                                     )
            v.                                         )   MOTION FOR SUPPLEMENTARY
12                                                     )   PROCEEDINGS (EXAMINATION OF
     JOHN J. “JACK” WILLIAMS,                          )   JUDGEMENT DEBTOR)
13                                                     )
                    Defendant.                         )
14
            The United States of America, by and through Daniel G. Bogden, United States Attorney, and
15
     Roger W. Wenthe, Assistant United States Attorney, moves this Honorable Court for an order requiring
16

17 defendant, John J. “Jack” Williams, to appear before a United States Magistrate Judge at a time and

18 place to be set by the court for examination supplementary to judgment pursuant to Rule 69 of Fed. R.

19 Civ. P., 28 U.S.C. § 3105, and N.R.S. 21.270.

20
                                         POINTS AND AUTHORITIES
21
            The Federal Debt Collection Procedure Act is “the exclusive civil procedures for the United
22
     States ... to recover a judgment on a debt.” 28 U.S.C. § 3001(a) (1)). A debt is an amount owed “to the
23

24 United States on account of ... [an] other source of indebtedness to the United States ....” 28 U.S.C. §

25 3002(3) (B). A judgment is “a judgment ... entered in favor of the United States in a court and arising

26 from a ... criminal proceeding ....” 28 U.S.C. § 3002(8). A criminal money judgment against a defendant
         Case 2:10-cr-00356-LDG-VCF           Document 486       Filed 10/15/15     Page 2 of 5




     is a judgment entered as a debt in favor of the Government. See 28 U.S.C. §§ 3001(a) (1), 3002(3) (B)
 1
     and (8), 3201, and 3202(a). The creation, duration, and renewal of judgment liens are part of Subchapter
 2

 3 C. See 28 U.S.C. §§ 3201 and 3202(a). Since judgments include criminal money judgments, the

 4 judgment lien is good for 20 years and can be renewed for another 20 years. See 28 U.S.C. §§ 3002(8),

 5 3201, and 3202(a).

 6
            This motion is based upon the attached Declaration and the pleadings and papers on file herein.
 7

 8

 9          DATED: July 13, 2015.

10                                                              DANIEL G. BOGDEN
                                                                United States Attorney
11
                                                                /s/Roger W. Wenthe
12                                                              ROGER W. WENTHE
                                                                Assistant United States Attorney
13

14

15

16

17

18

19

20

21

22

23

24

25

26
      Case 2:10-cr-00356-LDG-VCF           Document 486        Filed 10/15/15       Page 3 of 5




 1                                           DECLARATION
 2                    FOR MOTION FOR SUPPLEMENTARY PROCEEDINGS
                          (EXAMINATION OF JUDGMENT DEBTOR)
 3

 4 STATE OF NEVADA )
                   )
 5 COUNTY OF CLARK )

 6

 7      Mary Booker, declares pursuant to 28 U.S.C. §1746 under penalty of perjury that the
 8       foregoing is true and correct.
 9      1. I am a Legal Assistant in the Financial Litigation Unit for the United States Attorney’s
10          Office, District of Nevada. I have custody of the records in this office pertaining to this

11          collection matter.
12      2. Judgment was entered, for the plaintiff and against defendant on, April 19, 2012, for the
13          sum of $698,794.08, together with interest thereon from the date of judgment and court costs.

14      3. John J. “Jack” Williams resides within the jurisdiction of this Court.
15      4. The judgment has not been satisfied, vacated, reversed, or barred by the Statute of
16          Limitations, and is one on which execution may properly issue.
17      5. The judgment remains unpaid.
18
                                                               /s/ Mary Booker
19                                                            Mary Booker
                                                              Legal Assistant
20                                                            Financial Litigation Unit
21

22

23

24

25

26
        Case 2:10-cr-00356-LDG-VCF             Document 486         Filed 10/15/15      Page 4 of 5




 1                                 UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3

 4 UNITED STATES OF AMERICA,                            )
                                                        )
 5                 Plaintiff,                           ) Case No. 2:10-CR-0356-LDG-VCF
                                                        )
 6          v.                                          )
                                                        )
 7 JOHN J. “JACK” WILLIAMS,                             )
                                                        )
 8                 Defendants.                          )
 9

10                 ORDER FOR SUPPLEMENTARY PROCEEDINGS OF JUDGMENT
                                  DEBTOR EXAMINATION
11

12          On plaintiff’s motion and good cause appearing, the defendant, John J. “Jack” Williams, is
                                                                              3D Lloyd D. George
13 hereby ordered to appear before the United States Magistrate in courtroom _____,
                                                                                       22nd
14 Federal Courthouse, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, on the ______
           December
15 day of ________________,          10:00 a.m.
                            2015 at _____________, to then and there answer upon oath concerning the
16 property of the defendant and for such other proceedings as there may occur consistent with proceedings

17 supplementary to execution.

18          It is further ordered that you, the defendant, bring to the hearing the following:
19                 1. Your three most recent federal income tax returns with their attachments.
20                 2.    Copies of all personal and business financial statements concerning checking and
                        savings accounts for the past twelve months.
21
                   3. A copy of the titles to all you and your spouses’ vehicles, automobiles, boats,
22                    aircraft, etc
23                 4. Copies of your earnings statements (i.e. paychecks) for the past twelve months.
24                 5. Copies of your bills for the past twelve months to verify statements on the
                      financial form.
25

26
        Case 2:10-cr-00356-LDG-VCF            Document 486        Filed 10/15/15      Page 5 of 5




 1         It is further ordered that a copy of this order shall be served upon the defendant by the
                                                               15
 2 United States Marshall or private process service at least _________ calendar days before the
 3 hearing scheduled herein.

 4         Failure to appear may subject you, the defendant, to punishment for contempt of court.
 5
                       15th          October
 6         DATED this _____ day of __________________ 2015.
 7

 8

 9                                                               _______________________________
                                                                 United States Magistrate Judge
10

11

12 SUBMITTED BY:                              IT IS FURTHER ORDERED that the government is
                                              responsible for creating a record of the Judgment Debtor
13 DANIEL G. BOGDEN                           Examination on December 22, 2015 at 10:00 a.m. IT IS
   United States Attorney
14                                            FURTHER ORDERED that service of process on
                                              Defendant must be lodged with the court by December
15 /s/Roger W. Wenthe                         16, 2015.
   ROGER W. WENTHE
16 Assistant United States Attorney

17

18

19

20

21

22

23

24

25

26
